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                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


NIRAV THAKKAR,

Plaintiff,
                                                                 Case No. 1:15-cv-10109
v.

OCWEN LOAN SERVICING, LLC, a Delaware                            Honorable Martha M. Pacold
limited liability company; ALTISOURCE
SOLUTIONS, INC., a Delaware corporation;
ALTISOURCE PORTFOLIO SOLUTIONS, S.A., a
Luxembourg corporation; BAXOL PROPERTIES,
LLC, an Indiana limited liability company; and
LAUDAN PROPERTIES, LLC, an Ohio limited
liability company,

Defendants.


                     JOINT STATUS REPORT REGARDING MEDIATION

          The Parties report that mediation was held on March 4, 2020, with the Honorable Judge

Keith Brown, Ret. The Parties were unable to reach a settlement. The Pretrial Conference is set

for April 14, 2020, at 1:30 p.m.

          The Court entered a minute order on February 14, 2020 [DKT 406], striking without

prejudice certain pretrial motions. The Parties request the Court set a deadline of March 13,

2020, for any party to request reinstatement of its pretrial motions, or refile those motions with

modifications, updates, or revisions.

          The Parties respectfully request the Court set the motions for status on April 14, 2020, to

coincide with the scheduled pretrial conference.




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Dated: March 6, 2020                         Respectfully submitted,

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